         Case 2:15-cr-00043-RSL         Document 34    Filed 03/24/15    Page 1 of 3

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4                                                                  Judge Robert S. Lasnik

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7                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
8                                    AT SEATTLE
9
     UNITED STATES OF AMERICA,                 )      NO. CR15-43RSL
10                                             )
                           Plaintiff,          )
11          v.                                 )      ORDER CONTINUING TRIAL
                                               )      AND PRETRIAL MOTIONS DATE
12   CRISTOBAL ORTIZ,                          )
     MIGUEL REYES BRAVO,                       )
13
                                               )
14                         Defendants          )

15
            DEFENDANTS CRISTOBAL ORTIZ, through counsel Christopher
16

17   Carney, and MIGUEL REYES BRAVO, through counsel Terrence Kellogg, and

18
     The United States of America, by and through Annette L. Hayes, Acting United
19
     States Attorney, Karyn Johnson, Assistant United States Attorney, and Steven
20
21   Masada, Assistant United States Attorney, have moved by stipulation for a

22   continuance of the trial date. The Court, having considered the factual basis for
23
     the continuance set forth in the stipulation as well as defendants’ speedy trial
24
     waivers and the file and record herein, now finds and rules as follows:
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     ORDER CONTINUING TRIAL                                      TERRENCE KELLOGG
     TO SEPTEMBER 28, 2015 - 1                                      P.O. Box 70819
                                                              SEATTLE, WASHINGTON 98127
                                                                     (206) 781-8181
         Case 2:15-cr-00043-RSL       Document 34       Filed 03/24/15    Page 2 of 3

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2           1. The ends of justice served by granting this continuance outweigh the
3
     best interests of the public and the defendants in a speedy trial. 18 U.S.C.
4
     § 3161(h)(7)(A).
5

6           2. Proceeding to trial absent adequate time for the defense to prepare

7    would result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i).
8
            3. The defense needs additional time to examine voluminous discovery
9
     and to explore issues of some complexity, including all relevant issues and
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11   defenses applicable to the case, which would make it unreasonable to expect

12   adequate preparation for pretrial proceedings or for trial itself within the time
13
     limits established by the speedy trial act and currently set for this case. 18 U.S.C.
14
     § 3161(h)(7)(B)(ii).
15
            4. Taking into account the exercise of due diligence, a continuance is
16

17   necessary to allow the defendants reasonable time for effective preparation of

18   their defense. 18 U.S.C. § 3161(h)(7)(B)(iv).
19
            NOW, THEREFORE, IT IS HEREBY ORDERED that the stipulated motion
20
     is GRANTED. The trial date in this case is continued from the current date of
21

22   April 27, 2015 to September 28, 2015. The pre-trial motions date is continued

23   from March 19, 2015 to August 13, 2015.
24
            IT IS FURTHER ORDERED that the resulting period of delay from the
25
     date of this order, up to and including the new trial date of September 28, 2015 is
26

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     ORDER CONTINUING TRIAL                                       TERRENCE KELLOGG
     TO SEPTEMBER 28, 2015 - 2                                       P.O. Box 70819
                                                               SEATTLE, WASHINGTON 98127
                                                                      (206) 781-8181
         Case 2:15-cr-00043-RSL       Document 34      Filed 03/24/15    Page 3 of 3

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2    hereby excluded for speedy trial purposes, 18 U.S.C.§ 3161(h)(7)(A) and 18
3
     U.S.C.§ 3161(h)(7)(B).
4

5           All pretrial motions shall be filed no later than August 13, 2015.

6

7
     DATED this 24th day of MARCH, 2015.
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12                                                    A
                                                      Robert S. Lasnik
13                                                    United States District Judge

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     ORDER CONTINUING TRIAL                                      TERRENCE KELLOGG
     TO SEPTEMBER 28, 2015 - 3                                      P.O. Box 70819
                                                              SEATTLE, WASHINGTON 98127
                                                                     (206) 781-8181
